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                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MARYLAND

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          Plaintiff,

          v.                                                                                      Case   No.:Cc0~(q,!{3q 1
                                                                                                            (Ll!aI'l!   b/,mk.. To Or!Jillr!d   m   by Cour!.)

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                                                                                        *
            (Full name alld Jddress ofrespondenl)
           Defendant(s).

                                                                                   COMPLAI:'i'T

      1. Previous Lawsuits

           A. Have you filed other cases in state or federal court dealing \\ith the same facts as in this
              case or against the same det~ndants'!

                                YES             0               1\0            •

           B. [I' you answered YES, describe that case(s) in the spaces below.

                   I.       Parties to the other casel,;):

                            Plaintiff:                                                                                                                           _

                            Defendant(s):                                                                                                                  _

                   2. Court (if a federal court name the district; if a state court name the city or county):




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          3. Case No.:                                                                                                     _

          4.        Date filed:                                                                                               _

           5. Name of judge that handled the case:                                                                       _

           6.       Disposition (won, dismissed. still pending. on appeal):                                               _




           7. Date of Disposition:                                                                                        _

[I. Administrative                 Proceedings

    A. [f you are a prisoner. did you tile a grievance as required by the prison's administrative
       remedy procedures0

                           YES           •        NO      0
            1. If you answered YES:

                    a.     What was the result?




                    b. Did you appeal?                                                                                     _

                           YES 0                  NO      0

            2.       If you answered NO to either of the questions above, explain why:                                         _




Ill. Statement of Claim
     (Brielly state the facts of your case. Include dates, times. and places. Describe what each
     defendant did or how he/she is involved. If you are making a number of related claims.
     number and explain each claim in a separate paragraph.)

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  IV. Relief
        (State briefly what you want the Court to do for you.)

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